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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS


                                                     )
 Melissa Manoogian, on behalf of herself and         )
 all others similarly situated,                      )
                                                     )
                Petitioner,                          )   1:22-cv-10487-RWZ
                                                     )
        v.                                           )
                                                     )
 LoanCare, LLC,                                      )
                                                     )
                Respondent.                          )
                                                     )
                                                     )

DEFENDANT LOANCARE, LLC’S UNCONTESTED MOTION TO EXTEND TIME TO
              RESPOND TO CLASS ACTION COMPLAINT

       Defendant LoanCare, LLC (“LoanCare”), by and through its undersigned counsel,

respectfully moves this Court, pursuant to Federal Rule of Civil Procedure 6(b), for an Order

extending the deadline for LoanCare to respond to the Class Action Complaint [ECF No. 1] to

May 25, 2022. In support of this request, LoanCare states as follows:

       1.      Plaintiff filed the Class Action Complaint on April 1, 2022 [ECF No. 1].

       2.      LoanCare was served with a copy of the Class Action Complaint on April 4, 2022

[ECF No. 4].

       3.      Pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i), LoanCare’s response is currently due by

April 25, 2022. On April 19, 2022, Plaintiff’s counsel consented to a thirty (30) day extension of

time to respond, until and including May 25, 2022.

       4.      Pursuant to Rule 6(b), this Court may exercise the discretion to extend, for good

cause, the time period within which an act must be done, provided that the request is made before

the original time period has expired. See Fed. R. Civ. P. 6(b)(1)(A).


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       5.      LoanCare requests an extension of time to continue investigating the facts and

allegations raised in the Class Action Complaint and to prepare an appropriate response to the

Class Action Complaint. LoanCare respectfully submits that the foregoing circumstances

constitute good cause and warrant granting the extension requested.

       6.      The requested extension is made in good faith and not for the purpose of delay, and

no party will be prejudiced by this extension.

       WHEREFORE, Defendant LoanCare, LLC requests entry of an order granting it an

extension of time of up to and including May 25, 2022, within which to respond to the Class Action

Complaint.

                               Local Rule 7.01(a)(2) Certification

       As required by Local Rule 7.01(a)(2), counsel for LoanCare has conferred with counsel for

Plaintiff, who has advised that Plaintiff does not oppose the requested extension of time.

Date: April 22, 2022                              Respectfully submitted,


                                                  _______________________________
                                                  Christine R. Fitzgerald (BBO #637906)
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                                                  Counsel for LoanCare, LLC

                                CERTIFICATE OF SERVICE
       I certify that on April 22, 2022, the foregoing was electronically filed with this Court’s

CM/ECF System and thereby served on counsel of record.


                                             Christine R. Fitzgerald


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